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UNITED sTATEs DISTRICT CoURT `J ‘” g ., :':-.e.
FOR THE WESTERN DISTRICT OF TENNESSEE '.?F_ 1 f o ,.,,

WESTERN I)IVISION AT MEMPHIS ' ~- 3: 37

 

 

THE CLARK CONSTRUCTlON GROUP,
INC.,

Plaintiff,

V. Civil Action No. 01-2478-D BRE

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EAGLE AMALGAMATED sER\/ICES, )
tNC., CAPITOL iNDEMNiTY CoRP., )
tN\/ESTORS iNsURANCE Co. oF )
AMERICA, FiRsT sPECiALTY )
iNsURANCE, LEXINGTON rNsURANCE)
Co., and RLI rNsURANCE Co_, )

)

)

Defendants.

 

ORDER ON STATUS CONFERENCE

 

This matter came on before the Court by a telephone status conference requested by
counsel for the parties occurring on April 14, 2005, resulting from this Court’s Order of March
lS, 2005 ordering the parties to submit a scheduling order With trial dates. As a result of this
status conference, it appears that the following schedule and dispositions are appropriate:

l. The parties are relieved from submitting a scheduling order pursuant to this
Court’s Order ot`l\/Iarch lS, 2005;

2. Any and all parties Wishing to file any additional motions or submissions
regarding insurance issues shall do So on or before May 9, 2005;

3. Any responses to additional motions or materials submitted by the above-

referenced May 9, 2005 deadline, shall be filed on or before June 9, 2005;

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4. Thereupon, this Court will undertake a review of all pending motions, and rule or
defer ruling as the Court deems appropriate

5. Thereafter, this Court Will conduct an additional status conference in the matter to
further delineate the appropriateness and extent of a stay of this case pending resolution of
companion litigation between Clark Construction Group and the City of Memphis and/or further

proceedings in this matter.

n is so oRDEREDthiS [/Mday cr ZZ Zé¢_,?: ,2005.

 

onorab e ernice Bouie Donald
Uni ed States District Judge

Date: \S_r ///’ 0 f/

 

Approved for Entry:

/M/ £/A//JZ/ tv 945»»/\~ §445/’

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Notice of Distribution

This notice confirms a copy of the document docketed as number 233 in
case 2:01-CV-02478 was distributed by faX, mail, or direct printing on
May 16, 2005 to the parties listed.

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Honorable Bernice Donald
US DISTRICT COURT

